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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                          )
CENTER FOR BIOLOGICAL DIVERSITY,          )
                                          )
                           Petitioner,    )
                                          )
     v.                                   ) No. 23-1177 (and
                                          ) consolidated cases)
UNITED STATES ENVIRONMENTAL               )
PROTECTION AGENCY et al.,                 )
                                          )
                                          )
                          Respondents.    )
                                          )

           MOTION OF AMERICAN PETROLEUM INSTITUTE
                   FOR LEAVE TO INTERVENE
      Pursuant to Federal Rule of Appellate Procedure 15(d) and Circuit Rule

15(b), the American Petroleum Institute (“API”) respectfully moves for leave to

intervene in the above-captioned cases, as well as “all [other] cases before this

court involving the same agency action or order, including later filed cases,”

Circuit Rule 15(b). 1   These cases concern a final rule of the Environmental

Protection Agency (“EPA”) entitled “Renewable Fuel Standard (RFS) Program:

Standards for 2023–2025 and Other Changes,” 88 Fed. Reg. 44,468 (July 12,

2023), to be codified at 40 C.F.R. Parts 80 and 1090 (“Final Rule”).



1
 The above-captioned cases include Nos. 23-1240, 23-1243, 23-1244, 23-1246,
23-1247, 23-1248, and 23-1249.
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      Petitioner in the lead case, No. 23-1177, filed its petition for review of the

Final Rule on July 13, 2023. See Doc. No. 2008130. On August 15, 2023, Growth

Energy moved to intervene.      See Doc. No. 2012710. Additional petitions for

review were timely filed on September 8, 2023, see Doc. Nos. 2016197, 2016331;

and September 11, 2023, see Doc. Nos. 2016410, 2016422, 2016341, 2016347,

2016287, 2016354. The later-filed cases were consolidated with the lead case by

orders dated September 11, 2023, see Doc. No. 2016202; and September 12, 2023,

see Doc. Nos. 2016460. On October 5, 2023, Clean Fuels Alliance dismissed its

petition for review in No. 23-1245, see Doc. No. 2020671, and moved instead to

intervene, see Doc. No. 2020672.       On October 10, 2023, American Fuel &

Petrochemical Manufacturers moved to intervene in Nos. 23-1240, 23-1246, and

23-1248, see Doc. No. 2021091.

      This motion is timely because it is filed within 30 days of the petitions for

review in Nos. 23-1244, 23-1246, 23-1247, 23-1248, and 23-1249, which were

filed on September 11, 2023. See Fed. R. App. P. 15(d); Circuit Rule 15(b).

Counsel for API is authorized to state that (1) Petitioner American Fuel &

Petrochemical Manufacturers consents to API’s motion; (2) the following parties

take no position on the motion: Center for Biological Diversity, National Wildlife

Federation, Growth Energy, American Refining Group, Inc., Calumet Montana

Refining, LLC, Calumet Shreveport Refining, LLC, Ergon Refining, Inc., Ergon-



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West Virginia, Inc., Hunt Refining Company, Par Hawaii Refining, LLC, Placid

Refining Company LLC, REH Company, San Joaquin Refining Co., Inc., U.S. Oil

& Refining Company, Wyoming Refining Company, Countrymark Refining and

Logistics, LLC, The San Antonio Refinery LLC, and Wynnewood Refining

Company; (3) Respondents EPA, Administrator Regan, United States Fish and

Wildlife Service, and National Marine Fisheries Service reserve their position on

the motion; and (4) the following parties have provided no response when asked

for their positions on API’s motion: Neste US, Inc., Sustainable Advanced

Biofuels Refiners Coalition, Coalition for Renewable Natural Gas, Clean Fuels

Alliance America, and Coalition for Renewable Natural Gas.

                         SUMMARY OF ARGUMENT

      API is a national trade association that represents a broad range of petroleum

producers, including many companies that are obligated parties under EPA’s

Renewable Fuel Standard (“RFS”) program.           See Am. Petroleum Institute,

Members, http://www.api.org/membership/members (last visited Oct. 5, 2023).

The Final Rule at issue in these cases establishes the RFS program compliance

duties of obligated parties for 2023, 2024, and 2025, including how many

compliance credits they must obtain. API’s member companies therefore have a

direct and substantial financial stake in the provisions of the Final Rule and the

disposition of these cases. That interest is sufficient to meet the requirements for



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intervention under Federal Rule of Appellate Procedure 15(d) and applicable

precedent. API was an active participant in the rulemaking proceeding before

EPA, and it has been a party in prior cases before this Court litigating aspects of

EPA’s rules for the RFS program. 2

                                BACKGROUND

      1. API and the RFS Program. API is a nationwide, not-for-profit trade

association representing approximately 600 corporate members engaged in all

aspects of the oil and gas industry, including science and research, exploration and

production of oil and natural gas, transportation, refining of crude oil, and

marketing of oil and gas products. API’s members include producers, refiners,

pipeline operators, and marine transporters, as well as service and supply

companies.   API regularly represents its members in judicial, legislative, and

administrative forums, including in proceedings regarding implementation of the

Clean Air Act.




2
 See, e.g., Sinclair Wyoming Refining Co. v. EPA, No. 22-1210 (D.C. Cir.); RFS
Power Coalition v. EPA, No. 20-1046 (D.C. Cir.); Growth Energy v. EPA, 5 F.4th
1 (D.C. Cir. 2021); American Fuel & Petrochemical Manufacturers v. EPA, 937
F.3d 559 (D.C. Cir. 2019); Alon Refining Krotz Springs, Inc. v. EPA, 936 F.3d 628
(D.C. Cir. 2019); Americans for Clean Energy v. EPA, 864 F.3d 691 (D.C. Cir.
2017); Monroe Energy, LLC v. EPA, 750 F.3d 909 (D.C. Cir. 2014); API. v. EPA,
706 F.3d 474 (D.C. Cir. 2013); Nat’l Petrochemical & Refiners Ass’n v. EPA, 630
F.3d 145 (D.C. Cir. 2010).


                                         4
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      This suit concerns one aspect of the Clean Air Act’s regulatory regime: the

RFS program, which is designed to regulate the quantity of renewable fuels used in

transportation fuels in the United States. The RFS program was enacted in 2005,

see Energy Policy Act of 2005, Pub. L. No. 109-58, 119 Stat. 594, and expanded

in 2007, see Energy Independence and Security Act of 2007, Pub. L. No. 110-

140, 121 Stat. 142. As amended, the Clean Air Act imposed annual volume

requirements for four different categories of renewable fuel: renewable fuel,

advanced biofuel, cellulosic biofuel, and biomass-based diesel. See 42 U.S.C.

§ 7545(o)(2)(B).3 For the first three categories of renewable fuel, the Clean Air

Act imposed annual requirements through 2022, and for biomass-based diesel

through 2012. Id. § 7545(o)(2)(B)(i).

      For subsequent calendar years—including the years covered by the Final

Rule at issue here—the Clean Air Act directs EPA, in coordination with the

Secretaries of Agriculture and Energy, to establish volume requirements based on

consideration of several statutory factors and subject to several limitations. See

id. § 7545(o)(2)(B)(ii)–(v). EPA must then promulgate regulations implementing

those volume requirements. Id.




3
  These categories are “nested”: biomass-based diesel and cellulosic biofuel are
types of advanced biofuel, and advanced biofuel is a type of renewable fuel.


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      From 2005 to 2022, producers, refiners, and importers of non-renewable

fuels—including API’s member companies—were required to meet the annual

volume requirements by complying with Renewable Volume Obligations

(“RVOs”) for each of the four renewable-fuel categories each year. These RVOs

were computed by multiplying the volume of non-renewable gasoline and diesel an

obligated party produces or imports in a calendar year by the applicable percentage

standards for that year.    See Id. § 7545(o)(3)(B)(i). 4   EPA is continuing to

implement the RFS program for 2023–2025 using the same methods. See 88 Fed.

Reg. at 44,519.

      EPA has established a compliance mechanism for the RFS program based on

Renewable Identification Numbers (“RINs”). In brief, companies that produce

renewable fuel generate unique RINs that may be bought and sold. Obligated

parties are required to obtain and “retire” a number of RINs in proportion to their

RVOs.    If an obligated party fails to demonstrate compliance with its RFS

obligations for a given year, it may face substantial daily penalties. See 42 U.S.C.

§ 7545(d)(1); 40 C.F.R. § 80.1463.

      The Clean Air Act also includes waiver provisions that EPA may (and, in

some instances, must) use to tailor the volume requirements to conditions in the

4
 For example, if the standard for advanced biofuel was one percent in a given year
and an obligated party produced 1 billion gallons of non-renewable gasoline in that
year, the party’s advanced biofuel RVO for the year would be 10 million gallons.


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marketplace. See 42 U.S.C. § 7545(o)(7). Under the statute’s “general” waiver

provision, EPA may waive the volume requirements “in whole or in part … based

on a determination by the Administrator” that (i) “implementation of the

requirement would severely harm the economy or environment of a State, a

region, or the United States” or (ii) “there is an inadequate domestic supply.” Id.

§ 7545(o)(7)(A)(i)–(ii). The statute also requires EPA to “reduce the applicable

volume of cellulosic biofuel” in a given year “to the projected volume” of

cellulosic biofuel production for that year if the projected production level “is less

than     the   minimum    applicable    volume”    established    by     EPA.      Id.

§ 7545(o)(7)(D)(i). When exercising that cellulosic-biofuel waiver authority, the

Administrator “may also reduce the applicable volume[s] of renewable fuel and

advanced biofuels … by the same or a lesser volume.” Id.

        2. The Final Rule. Among other things, the Final Rule at issue here

establishes the volume requirements and sets the annual percentage standards for

the RFS program for 2023, 2024, and 2025. See 88 Fed. Reg. at 44,470–71.

These standards in turn define the RVOs that API’s member companies must

meet for those years—i.e., the number of RINs the companies must obtain.

        API participated in the administrative proceedings that culminated in

publication of the Final Rule by filing written comments on EPA’s proposal.5


5
    See Comments of the American Petroleum Institute, Proposed Rule: Renewable

                                          7
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More broadly, API regularly participates in proceedings concerning the RFS

program and has litigated several suits in this Court concerning annual volume

requirements established by EPA. 6

                                    ARGUMENT

        The motion should be granted for two principal reasons. First, the motion is

timely filed and meets all the other requirements of Federal Rule of Appellate

Procedure 15(d). Second, API has associational standing with respect to the Final

Rule and satisfies the additional requirements for intervention established by

applicable precedent. See, e.g., Cameron v. EMW Women’s Surgical Center,

P.S.C., 142 S. Ct. 1002, 1010 (2022); Berger v. N.C. State Conference of the

NAACP, 142 S. Ct. 2191, 2200–01 (2022).

        1. Rule 15(d) provides a minimal set of criteria for intervention. It provides

that

        Unless a statute provides another method, a person who wants to
        intervene in a proceeding under this rule must file a motion for leave
        to intervene with the circuit clerk and serve a copy on all parties. The
        motion—or other notice of intervention authorized by statute—must
        be filed within 30 days after the petition for review is filed and must
        contain a concise statement of the interest of the moving party and the
        grounds for intervention.



Fuel Standard (RFS) Program: Standards for 2023–2025 and Other Changes,
Docket     ID     No.     EPA-HQ-OAR-2021-0427     (Feb.   10,   2023),
https://www.regulations.gov/comment/EPA-HQ-OAR-2021-0427-0627.
6
    See supra note 2.


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This motion satisfies Rule 15(d)’s criteria. API is a “person” as defined in the

Clean Air Act, see 42 U.S.C. § 7602(e), and therefore is entitled to seek

intervention. The Act does not provide “another method” for intervention, and this

motion has been duly filed with the Circuit clerk and served on all parties. Further,

the motion is timely because it is filed within 30 days of the petitions for review in

Nos. 23-1244, 23-1246, 23-1247, 23-1248, and 23-1249, which were filed on

September 11, 2023. See Circuit Rule 15(b).

      As to API’s interest and the grounds for intervention, the analysis is

straightforward. Many of API’s member companies are obligated parties under the

RFS program. 7 As obligated parties, these companies have a direct and substantial

financial stake in the content of the volume requirements and percentage standards

set in the Final Rule. Any increase or decrease in those requirements—and any

change in the point of obligation or the formulas used to compute the

requirements—would translate directly into a change in the quantity of RINs that

API’s member companies must obtain. See Monroe Energy, 740 F.3d at 915 (“The

more rigorous the fuel standards, the more RINs [obligated parties] will have to

purchase.”). API members thus have a strong interest in ensuring that EPA’s 2023,



7
  See Am. Petroleum Institute, Members, http://www.api.org/membership/members
(last visited October 5, 2023) (identifying refiners and importers, such as BP
America, Inc., ExxonMobil, Marathon Oil Company, and Shell USA, Inc., as API
members).


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2024, and 2025 volume requirements and percentage standards comply with the

Clean Air Act and reflect an accurate assessment of market conditions.

       This Court has consistently granted regulated parties’ motions to intervene

in similar situations. See, e.g., Order, RFS Power Coalition v. EPA, No. 20-1046,

Doc. No. 1843937, at 1 (D.C. Cir. May 22, 2020) (granting API motion for leave

to intervene in challenges to RFS 2020 final rule); Order, Growth Energy v. EPA,

No. 19-1023, Doc. No. 1784196, at 1 (D.C. Cir. Apr. 23, 2019) (granting API

motion for leave to intervene in challenges to RFS 2019 final rule); Order, Am.

Fuel & Petrochemical Mfrs. v. EPA, No. 17-1258, Doc. No. 1725309, at 1 (D.C.

Cir. Apr. 5, 2018) (granting API motion for leave to intervene in challenges to RFS

2018 final rule); Order, Coffeyville Resources Refining & Marketing LLC v. EPA,

No. 17-1044, Doc. No. 17062266 (D.C. Cir. Nov. 28, 2017) (granting API motion

for leave to intervene in challenges to RFS 2017 final rule); Order, Americans for

Clean Energy et al. v. EPA, No. 16-1005, Doc. No. 1611965 (D.C. Cir. May 5,

2016) (granting API motion for leave to intervene in challenges to RFS 2014–2016

final rule).

       To the extent the considerations in Federal Rule of Civil Procedure 24(a)

inform the Court’s analysis, see Berger, 142 S. Ct. at 2200–01; Cameron, 142 S.

Ct. at 1010, API meets the requirements for intervention of right because it “claims

an interest relating to the … [rulemaking] transaction that is the subject of the



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action, and is so situated that disposing of the action may as a practical matter

impair or impede [API’s] ability to protect its interest,” Fed. R. Civ. P. 24(a); see

also United States v. Am. Telephone & Telegraph Co., 642 F.2d 1285, 1292 (D.C.

Cir. 1980) (party entitled to intervention where it stands to “gain or lose by the

direct legal operation and effect of the judgment” (quotation marks omitted)). The

exception for instances in which the “existing parties adequately represent” the

movant’s “interest,” Fed. R. Civ. P. 24(a)(2), is inapplicable here because many of

API’s member companies are not represented by any other party to this case. 8 In

any event, the interests outlined above establish that API also meets the lower

threshold for permissive intervention.    See Fed. R. App. P. 24(b) (permitting

intervention where party “has a claim or defense that shares with the main action a

common question of law or fact”).

      2. This Court has held that “[a]n intervenor must … satisfy the requirements

of Article III standing imposed on petitioners.” Ala. Mun. Distribs. Grp. v. FERC,

300 F.3d 877, 879 n.2 (D.C. Cir. 2002). The “irreducible constitutional minimum”

for standing is a concrete injury that is fairly traceable to the challenged conduct



8
  EPA cannot adequately represent the private-sector interests of API and its
member companies. See, e.g., Crossroads Grassroots Policy Strategies v. FEC,
788 F.3d 312, 321 (D.C. Cir. 2015); Fund for Animals, Inc. v. Norton, 322 F.3d
728, 736-37 (D.C. Cir. 2003); see also Berger, 142 S. Ct. at 2203 (explaining that
adequacy of representation exception “present[s] proposed intervenors with only a
minimal challenge”).


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and that will likely be redressed by a favorable decision. Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560–61 (1992). A trade association such as API meets

these criteria when “(a) its members would otherwise have standing to sue in their

own right; (b) the interests it seeks to protect are germane to the organization’s

purpose; and (c) neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.” Hunt v. Wash. State Apple

Advert. Comm’n, 432 U.S. 333, 343 (1977).

      This Court has already applied these criteria in the context of the RFS

program. It held in Monroe Energy that an obligated party has Article III standing

where it “is contesting its own compliance obligations under the RFS program as

implemented in [an EPA] Final Rule.” 750 F.3d at 915. “Because the financial

burden of purchasing RINs is a cognizable injury-in-fact, and it is fairly traceable

to the [annual] fuel standards and remediable by vacatur of the Final Rule,”

obligated parties have standing to litigate petitions for review of EPA’s annual

percent standards. Id. As noted, this Court has repeatedly granted API leave to

intervene in RFS cases. 9

      API’s members have standing under Monroe Energy because their

compliance obligations will rise or fall with the fate of the Final Rule. If the

9
 Indeed, because API’s member companies are the “object of the action” taken by
EPA in the Final Rule, their standing is “self-evident.” Sierra Club v. EPA, 292
F.3d 895, 900 (D.C. Cir. 2002) (citation and quotation marks omitted).


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petitions for review are denied, the Court’s ruling will confirm the extent of

obligated parties’ regulatory burdens for 2023, 2024, and 2025 under the Final

Rule.   Conversely, if the Final Rule is vacated or remanded, API’s member

companies’ regulatory obligations for those years may be reduced or increased.

Either way, API’s members would have standing to sue in their own right,

litigation of this suit is germane to API’s purpose as a trade association, and

participation by individual member companies is unnecessary given the equitable

relief requested by Petitioners. Cf. Am. Petroleum Inst. v. EPA, 706 F.3d 474

(D.C. Cir. 2013) (successful API challenge to EPA’s cellulosic-biofuels

requirement for 2012). That is all Hunt and this Court’s cases require.




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                                   CONCLUSION

      For the foregoing reasons, API’s motion for leave to intervene should be

granted.   Pursuant to Circuit Rule 15(b), the Court should also grant API

intervention in “all cases before this court involving the same agency action or

order, including later filed cases.”

                                          Respectfully submitted,

                                          /s/ Kevin King
John Wagner                               Robert A. Long, Jr.
Michele Schoeppe                          Kevin King
American Petroleum Institute              Thomas Brugato
200 Massachusetts Ave. NW                 Daniel G. Randolph
Suite 1100                                MaKade C. Claypool
Washington, DC 20001                      COVINGTON & BURLING LLP
                                          One CityCenter
                                          850 Tenth Street, NW
                                          Washington, DC 20001-4956
                                          (202) 662-6000
                                          rlong@cov.com
                                          kking@cov.com
                                          tbrugato@cov.com
                                          drandolph@cov.com
                                          mclaypool@cov.com

                          Attorneys for Movant-Intervenor
                           American Petroleum Institute
October 11, 2023




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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

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CENTER FOR BIOLOGICAL DIVERSITY,                  )
                                                  )
                                 Petitioner,      )
                                                  )
      v.                                          )      No. 23-1177 (and
                                                  )      consolidated cases)
UNITED STATES ENVIRONMENTAL                       )
PROTECTION AGENCY et al.,                         )
                                                  )
                                                  )
                                Respondents.      )
                                                  )

                  CERTIFICATE AS TO PARTIES AND AMICI

      Pursuant to Circuit Rules 27(a)(1)(4) and 28(a)(1)(A), Movant-Intervenor

American Petroleum Institute (“API”) states that the parties in the lead case, No.

23-1177, are Petitioner Center for Biological Diversity and Respondents U.S.

Environmental Protection Agency (“EPA”), United States Fish and Wildlife

Service, and National Marine Fisheries Service. The parties in the remaining cases

are as follows:

   • No. 23-1240: Petitioner Neste US, Inc., Respondent EPA, and Movant-

      Intervenors Growth Energy, Clean Fuels Alliance America, Coalition for

      Renewable      Natural   Gas,   and    American   Fuel   &      Petrochemical

      Manufacturers;


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   • No. 23-1243: Petitioners American Refining Group, Inc.; Calumet Montana

      Refining, LLC; Calumet Shreveport Refining, LLC; Ergon Refining, Inc.;

      Ergon-West Virginia, Inc.; Hunt Refining Company; Par Hawaii Refining,

      LLC; Placid Refining Company LLC; REH Company; San Joaquin Refining

      Co., Inc.; U.S. Oil & Refining Company; Wyoming Refining Company;

      Countrymark Refining and Logistics, LLC; The San Antonio Refinery LLC;

      Wynnewood Refining Company, LLC, Respondent EPA, and Movant-

      Intervenors Clean Fuels Alliance America and Coalition for Renewable

      Natural Gas;

   • No. 23-1244: Petitioner REH Company, Respondent EPA, and Movant-

      Intervenors Clean Fuels Alliance America and Coalition for Renewable

      Natural Gas;

   • No. 23-1246: Petitioner Sustainable Advanced Biofuel Refiners Coalition,

      Respondent EPA, and Movant-Intervenors Clean Fuels Alliance America,

      Coalition for Renewable Natural Gas, and American Fuel & Petrochemical

      Manufacturers;

   • No. 23-1247: Petitioner American Fuel & Petrochemical Manufacturers,

      Respondent EPA, and Movant-Intervenors Clean Fuels Alliance America

      and Coalition for Renewable Natural Gas;




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   • No. 23-1248: Petitioner Coalition for Renewable Natural Gas, Respondent

      EPA, and Movant-Intervenors Clean Fuels Alliance America, Coalition for

      Renewable      Natural   Gas,   and    American        Fuel   &   Petrochemical

      Manufacturers;

   • No. 23-1249: Petitioner National Wildlife Federation, Respondents EPA and

      EPA Administrator Michael S. Regan, and Movant-Intervenors Clean Fuels

      Alliance America and Coalition for Renewable Natural Gas.

There are no amici at this time.


                                        Respectfully submitted,

                                            /s/ Kevin King
                                            Kevin King

                                            Attorney for Movant-Intervenor
October 11, 2023                            American Petroleum Institute




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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

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                                                  )
CENTER FOR BIOLOGICAL DIVERSITY,                  )
                                                  )
                                 Petitioner,      )
                                                  )
      v.                                          )      No. 23-1177 (and
                                                  )      consolidated cases)
UNITED STATES ENVIRONMENTAL                       )
PROTECTION AGENCY et al.,                         )
                                                  )
                                                  )
                               Respondents.       )
                                                  )

                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and

Circuit Rule 26.1, Petitioner American Petroleum Institute (“API”) states as

follows:

      API is a nationwide, not-for-profit association representing approximately

600 member companies engaged in all aspects of the oil and gas industry,

including science and research, exploration and production of oil and natural gas,

transportation, refining of crude oil, and marketing of oil and gas products. API

has no parent companies, and no publicly held company has a 10 percent or greater

ownership interest in API. API is a “trade association” within the meaning of

Circuit Rule 26.1. API is a continuing association operating for the purpose of


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promoting the general commercial, professional, legislative, or other interests of its

members.


                                              Respectfully submitted,

                                              /s/ Kevin King
                                              Kevin King

                                            Attorney for Movant-Intervenor
October 11, 2023                            American Petroleum Institute




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                       CERTIFICATE OF COMPLIANCE

      I certify that this motion complies with the type-volume limitations of

Federal Rule of Appellate Procedure 27(d)(2) because it contains 2,903 words,

excluding the portions of the motion (and associated certificates, etc.) exempted by

Rule 27(a)(2)(B).    This motion complies with the typeface and type style

requirements of Rule 27(d)(1)(E) because it has been prepared in a proportionally

spaced typeface using Microsoft Word in Times New Roman and 14-point font.


                                             /s/ Kevin King
                                             Kevin King

                                             Attorney for Movant-Intervenor
October 11, 2023                             American Petroleum Institute




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                         CERTIFICATE OF SERVICE

      I certify that on October 11, 2023, I caused the foregoing motion (and

supporting papers) to be electronically filed with the Clerk of the U.S. Court of

Appeals for the D.C. Circuit by using the Court’s CM/ECF system. I further

certify that all participants in the case are registered CM/ECF users, and that

service will be accomplished by the CM/ECF system.


                                            /s/ Kevin King
                                            Kevin King

                                            Attorney for Movant-Intervenor
October 11, 2023                            American Petroleum Institute




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